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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="398ee2bcd4"&gt;&lt;span data-sentence-id="17bccdea9c" quote="false" data-paragraph-id="398ee2bcd4"&gt; Niall O'Toole; Mary Anne Carroll; Renala Condominium Association, Inc.; Thomas J. McWilliams; and M3 Investments, LLC, Petitioners &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="f19f2f4e8e" quote="false" data-paragraph-id="398ee2bcd4"&gt; &lt;br /&gt; Boulder and White Rock Ditch and Reservoir Company; 2150 Folsom, LLC; and James P. Tyrrell, Respondents &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="f42e62c5a4"&gt;No. 21SC342&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3430853981"&gt;November 15, 2021&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="47d16ce2b7"&gt;&lt;span data-sentence-id="90785717c6" quote="false" data-paragraph-id="47d16ce2b7"&gt; Court of Appeals Case No. 19CA2178 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
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